             In the
        Court of Appeals
Second Appellate District of Texas
         at Fort Worth
    ___________________________

         No. 02-23-00173-CR
    ___________________________

   STEVEN RAY DOUGLAS, Appellant

                   V.

         THE STATE OF TEXAS


  On Appeal from the 89th District Court
          Wichita County, Texas
   Trial Court No. DC89-CR2023-0611


  Before Bassel, Womack, and Walker, JJ.
  Memorandum Opinion by Justice Walker
                          MEMORANDUM OPINION

      Appellant Steven Ray Douglas appeals his sentence of twenty years’

incarceration for violating the accident-involving-personal-injury-or-death statute, a

second-degree felony offense under the facts of this case. See Tex. Transp. Code Ann.

§§ 550.021(a)(3)–(4), (c)(1)(A), .023(1), (3). In two issues, Douglas asserts that his

sentence is (1) supported by insufficient evidence and (2) grossly disproportionate to

his offense. We will affirm.

                                I. BACKGROUND

      In November 2018, Douglas was involved in an automobile accident in which

another driver, Lorri Garst, was killed. Witnesses testified that before the collision,

Douglas had been “driving . . . very erratically, bobbing in and out between cars”

without using his turn signal at speeds “significantly faster” than eighty miles per

hour.1 While driving in this manner, Douglas came up behind two vehicles driving

side-by-side on the two-lane highway. Unable get around the two vehicles, Douglas

attempted to drive in between them, hitting both in the process. One of the vehicles


      1
         Although Douglas acknowledged at trial that he had “probably [been] driving a
little faster than the other cars,” he contradicted the eyewitnesses’ testimony that he
had changed lanes erratically. In his briefing before this court, he explained that he
had been driving fast because he had just learned that his father-in-law had died and
wanted to get home to be with his wife. But we note that while the record indicates
that Douglas’s father-in-law had died the morning of the accident, Douglas never
explicitly testified that he had been hurrying home to see his wife when the crash
occurred. Rather, he simply stated that he had been returning home “after doing
some laundry.”


                                          2
was able to pull over without incident, but the other—Garst’s—began flipping into

the median. Garst was ejected from her vehicle, and witnesses later found her body

lying in the grass. She died at the scene.

       After initially pulling over at the next highway exit and attempting to walk back

to the scene of the accident, Douglas drove away without giving his information to

anyone. Witnesses to the crash followed him and called 911 as he exited the highway.

One of the witnesses provided Douglas’s license-plate number to the 911 dispatcher.

That witness observed that Douglas seemed “[n]ot really aware of what [had]

happened” and “looked like he was a little intoxicated.”

       State Trooper Todd Lewis was dispatched to the scene of the accident. After

running Douglas’s license-plate number, Trooper Lewis went to Douglas’s listed

address and found a car matching the description provided by witnesses. He noticed

that a trash can had been pushed up next to the car and a carpet had been placed over

the top of the vehicle’s right side in an attempt to hide the damage.

       While Trooper Lewis was standing by the car, Douglas came outside and

identified himself. Douglas said, “I was fixing to come see y’all.” He admitted that he

had been involved in an automobile accident and spoke about some of the details. He

indicated that he wanted to cooperate in the investigation and when he was informed

that someone had died in the crash, he put his head down and expressed that he was

sorry. Trooper Lewis arrested Douglas for failing to stop and render aid after the

collision.

                                             3
      Ultimately, a grand jury indicted Douglas for violating the accident-involving-

personal-injury-or-death statute, a second-degree felony in this case. Douglas pleaded

guilty. In exchange for Douglas’s guilty plea, the State agreed not to seek to enhance

his punishment range beyond that of a second-degree felony based on his prior felony

convictions,2 but there was no other agreement between Douglas and the State

regarding punishment.

      Following a punishment hearing, the trial court assessed Douglas’s punishment

at twenty years in prison3 and signed a judgment sentencing him accordingly. This

appeal followed.

                                 II. DISCUSSION

  A. DOUGLAS IS NOT ENTITLED TO AN EVIDENTIARY-SUFFICIENCY REVIEW

      In his first issue, Douglas argues that the trial court abused its discretion by

sentencing him to twenty years in prison because the evidence was insufficient to

support such a sentence.      “But as the Texas Court of Criminal Appeals has

recognized, a trial court’s decision regarding what sentence to impose is a ‘normative

process, not intrinsically factbound.’” Garcia v. State, No. 02-23-00097-CR, 2023 WL

8467492, at *2 (Tex. App.—Fort Worth Dec. 7, 2023, no pet.) (mem. op., not

      The State made clear that it still intended to put on evidence related to
      2

Douglas’s criminal history during the punishment hearing.
      3
       This sentence is within the statutory limits for Douglas’s second-degree felony
offense. See Tex. Penal Code Ann. § 12.33 (providing that the punishment range for a
second-degree felony is two to twenty years in prison and up to a $10,000 fine).


                                          4
designated for publication) (quoting Ex parte Chavez, 213 S.W.3d 320, 323 (Tex. Crim.

App. 2006)). Thus, a trial court’s assessment of punishment is not subject to an

evidentiary-sufficiency review. See Garcia v. State, 316 S.W.2d 734, 735 (Tex. Crim.

App. 1958); Thompson v. State, No. 03-18-00654-CR, 2020 WL 5884113, at *4 (Tex.

App.—Austin Sept. 30, 2020, no pet.) (mem. op., not designated for publication);

Montelongo v. State, No. 08-18-00093-CR, 2020 WL 4034961, at *5 (Tex. App.—El

Paso July 17, 2020, pet. ref’d) (not designated for publication); Schmitt v. State,

No. 07-18-00378-CR, 2020 WL 1880932, at *1 (Tex. App.—Amarillo Apr. 15, 2020,

pet. ref’d) (mem. op., not designated for publication); Jarvis v. State, 315 S.W.3d 158,

162 (Tex. App.—Beaumont 2010, no pet.); see also Pena v. State, No. 04-18-00491-CR,

2019 WL 2996964, at *2 (Tex. App.—San Antonio July 10, 2019, no pet.) (mem. op.,

not designated for publication) (“[A]n assertion that a sentence is not supported by

sufficient evidence is not a reviewable issue on appeal.”). Accordingly, we reject

Douglas’s evidentiary-sufficiency challenge and overrule his first issue.

              B. DOUGLAS’S SENTENCE IS NOT UNCONSTITUTIONAL

      In his second issue, Douglas argues that his twenty-year sentence—despite

being within the statutory limits—is grossly disproportionate to his offense and is

therefore unconstitutional. We disagree.

                                  1. Applicable Law

      “Generally, punishment assessed within the statutory limits is not excessive,

cruel, or unusual punishment.” Dale v. State, 170 S.W.3d 797, 799 (Tex. App.—Fort

                                            5
Worth 2005, no pet.) (first citing Jordan v. State, 495 S.W.2d 949, 952 (Tex. Crim. App.

1973); and then citing Alvarez v. State, 63 S.W.3d 578, 580 (Tex. App.—Fort Worth

2001, no pet.)). Indeed, a trial court has “essentially ‘unfettered’” discretion to impose

any sentence within the prescribed statutory range, Chavez, 213 S.W.3d at 323 (quoting

Miller-El v. State, 782 S.W.2d 892, 895 (Tex. Crim. App. 1990)), and any sentence

within the statutory limits is virtually “unassailable” on appeal provided that it is based

upon the sentencer’s informed normative judgment, id. at 324.              But a narrow

exception to this general rule exists: the Eighth Amendment prohibits noncapital

punishment within the statutory limits if the sentence is grossly disproportionate to

the offense. Graham v. Florida, 560 U.S. 48, 59–60, 130 S. Ct. 2011, 2021–22 (2010);

Harmelin v. Michigan, 501 U.S. 957, 997–1001, 111 S. Ct. 2680, 2702–05 (1991)

(Kennedy, J., concurring in part and concurring in judgment); State v. Simpson,

488 S.W.3d 318, 322 (Tex. Crim. App. 2016). Although the “precise contours [of the

gross-disproportionality exception] are unclear,” Harmelin, 501 U.S. at 998–1001, 111

S. Ct. at 2703–05 (Kennedy, J., concurring in part and concurring in judgment), one

thing is certain: it applies “only in the exceedingly rare or extreme case,” Simpson,

488 S.W.3d at 322–23; see Chavez, 213 S.W.3d at 323–24.

      To determine whether a noncapital sentence qualifies for this uncommon and

“somewhat amorphous” exception, we engage in a three-step review beginning with a

threshold analysis comparing the gravity of the offense to the severity of the sentence.

Graham, 560 U.S. at 60, 130 S. Ct. at 2022; Simpson, 488 S.W.3d at 323; see also Chavez,

                                            6
213 S.W.3d at 323–24. Assessing the gravity of the offense requires us to consider

(1) the harm that the defendant caused or threatened to the victim and to society,

(2) the defendant’s culpability, and (3) the defendant’s prior adjudicated and

unadjudicated crimes. See Simpson, 488 S.W.3d at 323. We weigh these factors against

the defendant’s sentence, looking to precedent for guidance as to the constitutional

limits of proportional severity. See Hutto v. Davis, 454 U.S. 370, 374–75, 102 S. Ct.

703, 706 (1982) (per curiam) (chastising lower courts for extending gross-

disproportionality exception beyond the limits of precedent); McGruder v. Puckett,

954 F.2d 313, 317 (5th Cir. 1992) (holding sentence was not grossly-disproportionate

based on Supreme Court and Fifth Circuit precedent). In the rare case in which this

threshold analysis indicates gross disproportionality, we proceed to steps two and

three by comparing the defendant’s sentence with those received by similar offenders

in this jurisdiction and with those imposed for the same crime in other jurisdictions.

Simpson, 488 S.W.3d at 323; see also Solem v. Helm, 463 U.S. 277, 296–300, 103 S. Ct.

3001, 3012–15 (1983) (applying steps two and three).

                               2. Threshold Analysis

      Douglas’s gross-disproportionality argument does not pass the threshold test.

Rather, considering the factors set forth above, see Simpson, 488 S.W.3d at 323, we

conclude that his sentence is within constitutional bounds.

      First, Douglas caused significant harm.      The record shows that he drove

erratically and dangerously and attempted to drive between two side-by-side vehicles

                                           7
on a two-lane highway. This unsafe driving endangered all motorists on the highway

and actually killed one of them—Garst. Cf. Jackson v. State, No. 02-23-00156-CR,

2023 WL 8267693, at *2 (Tex. App.—Fort Worth Nov. 30, 2023, no pet.) (mem. op.,

not designated for publication) (applying threshold gross-disproportionality test and

holding that appellant had caused significant harm by, inter alia, “fleeing from police

in [a] stolen vehicle and ultimately wrecking it,” thereby “plac[ing] . . . other motorists

in danger”). Garst’s daughter testified that Garst was the “glue that held [their] family

together” and that the family has been “impacted greatly” by her death. She also

testified that at the time of trial she and her children were still in counseling to help

them cope with Garst’s death, and she stated that she will not allow her teenaged

children to drive because she is scared for them to be on the road.

      Second, Douglas’s moral culpability—his blameworthiness for the offense—was

high. See Bolar v. State, 625 S.W.3d 659, 666 (Tex. App.—Fort Worth 2021, no pet.).

“In analyzing a defendant’s culpability, we consider factors such as the defendant’s

age at the time of the offense, his motive and intent to commit the crime, his role as

the primary actor or as a party to the offense, and his acceptance of responsibility.”

Id. The record shows that Douglas—who was the sole actor to the offense and was

fifty-seven years old at the time of its occurrence—not only drove dangerously,

causing a serious accident that resulted in Garst’s death, but also made conscious

choices to drive away from the scene of the crash without providing his information

to authorities (or to anyone), to drive home instead of to a police station, and to

                                            8
attempt to hide evidence of his involvement in the accident by using a large trash can

and a carpet to obscure the damage to his vehicle. Further, one witness who observed

Douglas shortly after the collision testified that he appeared intoxicated, and the

presentence investigation report reflects that Douglas was “under the influence of

drugs or alcohol” at the time of the offense.

      Douglas has also failed to fully accept responsibility for his offense. Although

he ultimately acknowledged that he had been involved in the crash, he only did so

after Trooper Lewis had traced his license plate number to his residence and had

observed—despite Douglas’s concealment efforts—the damage to his vehicle.

Moreover, at the punishment hearing, Douglas failed to take responsibility for causing

the crash and attempted to downplay his culpability for leaving the scene. Despite

multiple eyewitnesses’ having described how Douglas’s dangerous driving had caused

the accident, Douglas testified that he did not know “whose fault [the collision] was”

and that he “didn’t think that [he] was the cause” of the crash. He claimed that he

had sped away from the accident scene because he had not wanted to “get hit from

behind” and stated his belief that he “didn’t really have to” stop and render aid

because there had been “plenty of people attending” to the injured motorist.

      Third, Douglas has an extensive criminal history. The State presented evidence

that he had multiple prior felony convictions, including one for aggravated assault and

two for possessing methamphetamine.         In addition to these felony convictions,

Douglas has been convicted of myriad misdemeanor offenses. Douglas conceded

                                           9
that he had been placed on probation twice before and had failed to complete it each

time.

        Taking all of these factors together and affording proper deference to the

legislature and the trial court to create and assess Douglas’s punishment, we cannot

say that Douglas’s twenty-year sentence, which is within the statutory range for his

offense,4 gives rise to an inference of disproportionality.5 Accordingly, we overrule

Douglas’s second issue.

                                 III. CONCLUSION

        Having overruled both of Douglas’s issues, we affirm the trial court’s judgment.

                                                      /s/ Brian Walker

                                                      Brian Walker
                                                      Justice

Do Not Publish
Tex. R. App. P. 47.2(b)

Delivered: August 22, 2024




        See supra note 3.
        4



        Because Jackson’s disproportionality argument does not pass the threshold
        5

test, we need not compare his sentences to others for the same offenses in Texas and
elsewhere. See Bolar, 625 S.W.3d at 666; see also Nunnally v. State, No. 03-19-00807-CR,
2021 WL 4995502, at *5 (Tex. App.—Austin Oct. 2, 2021, no pet.) (mem. op., not
designated for publication).


                                           10
